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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 LINITED STATES OF AMERICA,

                    Plaintiff,

                    v.                                Case   No. 07 CR 843-7

 REGINALD BOOKER,                                     Judge Joan H. Lefkow

                    Defendant.


                                     OPINION AND ORDER

        Defendant Reginald Booker moves to reduce his sentence under $ 404 of the First Step

Act, Pub. L. 115-391, 132 Stat. 5194, $ 404 (2018). The motion (dkt. 1536) is granted and

Booker's custodial sentence is reduced to 120 months. All other terms of his original sentence

remain in effect.

                                         BACKGROUND

       On January 27,2009, Booker pleaded guilty to conspiracy knowingly and intentionally to

distribute and possess with intent to distribute mixtures containing 50 grams or more of cocaine

base, in violation of 21 U.S.C. $ 846. (Dkts. 173, 482.) In the factual basis of his plea agreement,

Booker admitted that "the total amount of drugs distributed by defendant and by defendant's co-

conspirators that was reasonably foreseeable to defendant through the course of the conspiracy

was over 4.5 kilograms of cocaine base in the form of crack cocaine." (Dkt. 483 at 5.)

       On April 76,2010, Booker appeared for sentencing. (Dkt. 855.) At that time, the offense

to which Booker pleaded guilty carried a mandatory minimum of 10 years' imprisonment.

21 U.S.C. $ 841(bxl)(A). This court determined that Booker had a total offense level of 38 and a

criminal history category of II, which resulted in a Guidelines sentencing range   of   262-327
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months, and sentenced Booker to a 160-month sentence of imprisonment and 5 years                 of

supervised release. (Dkt. 855.)

         Congress later changed the cocaine sentencing ranges because they "imposed upon an

offender who dealt in powder cocaine the same sentence it imposed upon an offender who dealt

in one one-hundredth that amount of crack cocaine." Dorseyv. United States,567 U.5.260,263,

132 S.   Ct.232l (2012). The Fair Sentencing Act of 2010      increased the weight of crack cocaine

required to trigger certain mandatory minimums. Id. at264. Of importance here, the Fair

Sentencing Act "increased the drug amounts triggering mandatory minimums for crack

trafficking offenses from 5 grams to 28 grams in respect to the 5-year minimum and from 50

grams to 280 grams in respect to the 1O-year minimum." Id.       at269.In other words, while an

individual convicted of possessing 50 grams or more of crack cocaine previously faced a 10-year

mandatory minimum, he must now possess more than 280 grams to trigger that minimum. Pub.

L. ll0-220,   124   }tat.2372,   $ 2(a)(1) (2010). Similarly, where such an   individual possesses in

excess of 28 grams to 280 grams, the mandatory minimum is now 5 years.           Id.   S   2(a)(2).

         In 2018, Congress passed the First Step Act making the Fair Sentencing Act's crack

cocaine sentencing ranges retroactively applicable to those convicted of qualifying crimes before

2010. Pub. L. ll5-391,132 Stat. 5194, $ 404 (2018). Underthe First Step Act, "[a] court that

imposedasentenceforacoveredoffensemay...imposeasentenceasifsections2and3ofthe

Fair Sentencing Act of 2010. . . were in effect at the time the covered offense was committed."

Id. S 404(b). A "covered offense" is "a violation of a Federal criminal statute," whose penalties

the Fair Sentencing Act modified but was committed before August 3,2010. Id. $ ala@).

Congress imposed two limitations on relief: (1)     if the defendant's   sentence was already imposed
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or reduced under the Fair Sentencing Act and (2) if a court has already rejected the defendant's

motion under the First Step Act. Id. $ ala@).

         OnFebruary 5,2019, Booker movedpro se forrelief under 18 U.S.C. $ 3582 (or28

U.S.C. S 225rt and $ 404 of the First Step Act. (Dkt. 1536.) The court appointed counsel, who

supplemented his motion for a reduced sentence under $ 404. (Dkt. 1551.)

                                               ANALYSIS

I.       Eligibitity

         The govemment contends that Booker is not entitled to relief under the First Step Act

because his actual offense conduct involved more than 4.5 kilograms of cocaine base, which

satisfies and far exceeds both the original threshold of 50 grams and the amended threshold          of

280 grams of cocaine base. Booker counters that it is not the underlying conduct that controls

eligibility for relief, but the statutory weight charged in the indictment.

         To the court's knowledge, nearly every court to address the issue agrees with       Booker-

eligibility for relief under the First Step Act is determined by the amount charged in the

indictment, not the amount admitted in the plea agreement or found at sentencing. See United

States v. Martinez, No. 04-CR-48-20 (JSR), 2019WL2433660, at *3 (S.D.N.Y. June 11,2019)

(noting that most courts to address the issue have found eligibility to be determined by amount

charged in indictment); see also, e.g., United States v.   Dodd,372F. Supp. 3d795,797 (5.D.

Iowa20l9) (noting that "[t]he First    Step   Act . . . applies to offenses and not conduct"); United

States v. Pierre,372 F. Supp. 3d 17,22 (D.R.\.2019) (noting that the court "should look to




        I The court construes Booker's motion as one brought under 18 U.S.C. 3582(cX1)(B), which
                                                                                  $
permits modification of an imposed term of imprisonment to the extent expressly permitted by statute. See
United States v. Kamber, No. 09-CR-40050-JPG ,2019 WL 399935 , at *2 (S.D. Ill. Jan. 3 l, 2019)
(concluding that proper vehicle for the court to reduce sentence in light of $ 404 of the First Step Act is
l8 u.S.C.   $ 3s82(cX1XB)).
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whether the offense of conviction was modified by the Fair Sentencing Act . . . [and] refrain

from delving into the particulars of the record to determine how [a] specific defendant committed

his or her offense of conviction, and how those facts would have hypothetically affected the

charges brought against the defendant under the new statutory regime"); United States v. Powell,

360 F. Supp. 3d 134, 139 (N.D.N.Y.2019) (holding defendant eligible for relief because "[t]he

drug type and quantity used to set the statutory range under the First Step Act of 2018 is the

quantity charged in the indictment and found by a jury beyond a reasonable doubt"); United

Statesv.Allen, No.3:96-cr-00149-RNC-3,2019 WL 1877072,al*24 (D. Conn. Apr.26,

2019) (finding eligibility determined by amount charged in indictment, not amount found at

sentencing hearing); United States v. Davis, No. 07-CR-2455 (l),2019 WL 1054554,           at*2-3

(W.D.N.Y. Mar. 6,2019) (finding eligibility for relief under First Step Act determined by "the

statute of conviction, not actual conduct"); United States v. Laguerre, No. 5:02-CR-30098-3,

2019 WL 861417 , at * 1 (W.D. Va. Feb. 22, 2019) (holding defendant charged with offense

involving 50 grams or more of crack but sentenced based on 1.5 kilograms of crack eligible for

relief). ButseeUnitedStatesv.Blocker,4:07CR36-RH,2019WL2051957,at*3-4(N.D.Fla.

Apr.25,2019) (finding that the "indictment-controls theory" misreads the statute and is

demonstrably inconsistent with Congress's intent).

         As other district courts have concluded, this court finds that the phrase "violation of a

Federal criminal statute," in the definition of a "covered offense" under section a}a@) of the

First Step Act, refers to the amount charged in the indictment on which a defendant was

convicted, not the amount admitted to in the plea agreement or otherwise attributed to him or her

by   judicial finding. In other words, "[u]nder the plain language of [Section 404], whether an
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             ocovered
offense is a          offense' is determined by examining the statute the defendant violated."

Davis,2019 WL 1054554, at *3.

            Booker was thus sentenced for a "covered offense"-fus pleaded guilty to violating a

statute applicable to an offense involving 50 grams or more of crack cocaine, and the statutory

penalty for this offense was modified by the Fair Sentencing Act. He is also not subject to either

exclusion in $ 404(c).

II.         Relief

            Having found that Booker is eligible for relief, the court must determine what relief,   if
any, to award. The First Step Act provides, "A court that imposed a sentence for a covered

offense may . . . impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act        of

2010   ..   . were in effect at the time the covered offense was committed." Pub.    L. ll5-391, 132

Stat. 5194, $ 404(b) (2018).

            For the reasons discussed above,   if section 2 of the Fair Sentencing Act had been in effect

at the time Booker committed his covered offense, the "50 grams or more" charged in the

indictment would have triggered a 5-year mandatory minimum and 4}-year maximum, rather

than a l0-year mandatory minimum and a maximum of life. Such a substantial change in the

mandatory minimum and maximum warrants some relief for Booker.

        Booker has been in custody since June 24,2009, nearly ten years. During that time, he

has taken numerous educational courses, and successfully passed General Education

Development testing in2015. He has also completed parenting classes to help him contribute to

the lives of his four children upon his return to the community. And he has maintained

employment while in prison, working as a cook in the kitchen and a facilities worker. Booker

plans to live with his mother and work with his uncle at ameat packing        facility after his release.
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 Moreover, it is unlikely that three-plus additional years of continued imprisonment are required

to deter him (and others) any more than has been accomplished in the ten years served. Because

the Fair Sentencing Act and the First Step Act reflect Congress's judgment that shorter prison

 sentences adequately reflect the seriousness ofcrack cocaine offenses, reduction         ofBooker's

sentence aligns the statutory purposes of sentencing with the goal of the reform legislation.

         Considering all these factors together, the court concludes that reducing Booker's

sentence    to 120 months is sufficient but not   greater than necessary to accomplish the sentencing

goals in 18 U.S.C. $ 3553(a).2

                                                  ORDER

         Reginald Booker's motion for sentence reduction under $ 404 of the First Step Act (dkt.

1536) is granted. Booker's custodial sentence is reduced       to   120 months.   All other terms and

conditions of the previous judgment imposed on April 16,2010 (dkt. 855), remain in effect.

Booker should be released immediately. Amended judgment order to follow.




Date: June 20,2019
                                                                District Judge Joan H. Lefkow




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            Although the court considers the factors in 18 U.S.C. $ 3553(a) in reducing Booker's sentence,
 it declines to conduct a'oplenary" or "de novo" resentencing in any broader sense. "Nearly every other
coult to address the issue has held that the First Step Act does not contemplate plenary resentencings."
Martinez,20l9 WL 2433660, at *3 (finding as such but considering $ 3553(a) factors in determining
whether defendant was eligible for sentence reduction under section 404 of the First Step Act); see
also United States Sentencing Commission, Office of Education and Sentencing Practice, FIRST STEP
lcr, https://www.ussc.gov/sites/default/files/pdf/training/newsletters/2019-special_FIRST-STEP-
Act.pdf (last visited June 20, 2019) ("[T]he courts should consider the guidelines and policy statements,
along with the other 3553(a) factors, during the resentencing.").
